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                       UNITED STATES DISTRICT COURT
                                  FOR THE
                            DISTRICT OF VERMONT


UNITED STATES OF AMERICA,     :
          Plaintiff,          :
                              :
          v.                  :            File No. 1:10-cr-93-jgm-3
                              :
SHAQUAN BAPTISTE,             :
          Defendant.          :
                              :
_____________________________ :


                             MEMORANDUM AND ORDER
                                   (Doc. 41)

     Defendant Shaquan Baptiste has moved to suppress evidence of

Oxycontin pills surrendered to law enforcement officers and

statements she made while detained in connection with the

warranted searches of a Chevrolet Suburban and fellow passenger.

Ms. Baptiste is charged under 21 U.S.C. §§ 846 and 841(b)(1)(C)

with conspiracy to distribute oxycodone, a Schedule II controlled

substance.    (Doc. 20.)     Having considered Baptiste’s Motion to

Suppress (Doc. 41), the government’s Response in Opposition (Doc.

45), the testimony of Officers Michael Morris, Mike Leonard, and

D.E.A. Special Agent Thomas Doud at the suppression hearing on

July 11, 2011, as well as post-hearing briefing (Docs. 79, 80),

Ms. Baptiste’s Motion to Suppress is denied for the reasons stated

below.

I.   Background

     The following facts were adduced at the suppression hearing

and are summarized in the parties’ memoranda.               Any factual
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disputes are resolved to the extent necessary.              Fed. R. Cr. P.

12(d).

     On June 15, 2010, Burlington Detective Michael Morris

obtained Vermont state court search warrants authorizing searches

of Ronald Lyons and the contents of a Chevy Suburban registered to

Kimberly Baker.      Mr. Lyons and Ms. Baker were suspected of

transporting Oxycontin from New York to Burlington, and returning

to New York with drug proceeds.        These warrants were not

immediately executed.

     On June 24, 2010, in connection with the same investigation,

Detective Morris and other officers executed a warrant to search a

South Burlington apartment.        Its occupant, Marissa Brassard, told

them her Oxycontin suppliers in New York City were returning to

Vermont later that day with a new supply.            Officers recorded a

telephone call to one of her suppliers, Terrell Jordan, who said

someone named “Mello,” would be arriving at the apartment that

evening with a shipment.        Officers suspected either Baker’s

Suburban or Baptiste’s Lexus1 may be transporting the supply.

     Officers observed Baker’s Suburban driving northbound on

Interstate 89 at approximately 7:10 p.m.           A Burlington police



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       Officer Michael Morris testified that Ms. Baptiste’s name was
known to the officers because Terrell Jordan had been observed in
Burlington at least three times, and stopped once, while driving a
Lexus with New York plates, and Ms. Baptiste was known to be the
registered owner of the Lexus. When Mr. Jordan was stopped in the
Lexus, he had $16,000 in currency in the back seat.

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officer stopped it in South Burlington at 7:35 p.m., approximately

300 yards from Marissa’s apartment.        When back-up units arrived,

officers, with weapons displayed, ordered the Suburban’s four

occupants, Kim Baker, Thierry Mathelier, Ronald Lyons, and Shaquan

Baptiste, out of the vehicle.      They were separated and placed in

handcuffs.    Officers moved the Suburban to a nearby Lowe’s store

parking lot, approximately 100 yards from the scene of the stop.

     Officer Michael Henry testified that he stood with Ms.

Baptiste in front of his unmarked car after she was cuffed.              He

told her she was in investigative detention and that a lead

investigator would come talk to her.        She gave her name and date

of birth, and stated she had come to Vermont to discuss boyfriend

problems with her boyfriend’s cousin.        Ms. Baptiste told Henry she

was a reputable car dealer and was not involved in drug activity.

Ms. Baptiste also stated she was pregnant and needed to urinate.

     Officer Henry stayed with Ms. Baptiste, while other officers

searched Lyons, detained Baker and Mathelier, and searched the

Suburban.    Lyons, who was questioned in a Burlington police

vehicle, denied all involvement in drug activity.            Mathelier,

however, admitted he knew Terrell Jordan dealt in Oxycontin and

that he had been asked by Jordan to travel to Vermont to stay with

“Marissa,” while Marissa sold pills.        Mathelier told officers

Shaquan Baptiste was romantically involved with Jordan.




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     Officer Henry testified he removed Ms. Baptiste’s handcuffs

approximately fifteen to twenty minutes after the Suburban was

stopped.   It is not clear how much time elapsed before Agent Doud

approached them, but Doud testified he had a conversation with

Baptiste after she was uncuffed that lasted approximately ten to

fifteen minutes, in which she repeated much of what she had told

Officer Henry.   Officer Henry estimated he was with Ms. Baptiste

for approximately forty-five minutes in all.

     Doud testified he told Ms. Baptiste officers believed there

was contraband either in the Suburban, or on or in some of its

occupants, and that suspicion was cast on her.            Baptiste denied

possessing drugs and, Doud testified, “welcomed” an opportunity to

be searched.   Doud told her they would arrange for a female

officer to do that, and if no drugs were found, they would apply

for a warrant for a body cavity search.         Ms. Baptiste responded

there was no need for a warrant, that she would consent so long as

the search was performed by a medical professional at a hospital.

Baptiste repeated what she had told Officer Henry regarding

discussing boyfriend problems with her boyfriend’s cousin, stated

Terrell was her boyfriend, that she suspected he was involved in

drugs, but she made it a point not to mind his business.                 Doud

testified Ms. Baptiste told him she needed to urinate and wanted

to do so as soon as possible.      Doud told her there was no female

officer on the scene, that he needed a female officer to escort


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her, and told her of his concern regarding destruction of

evidence.   Doud testified he left Ms. Baptiste and Officer Henry

to attend to other aspects of the investigation.            Doud also stated

that when he left Baptiste and Henry, she was still uncuffed.

     Doud went to speak with officers interviewing Ms. Baker and

Mathelier and checked on the car search in the Lowe’s parking lot.

He learned no contraband had been found in the Suburban.

     Agent Doud then went to speak with Ms. Baker.            He testified

he told her officers would pursue a warrant for a body cavity

search and referred to the benefits of cooperating.            She indicated

she was willing to talk and was Mirandized.          Baker soon admitted

Lyons had given her two packages of pills which she had concealed

in a body cavity.

     At that point, Officer Jessica Stewart arrived on the scene.

Doud turned his attention to Ms. Baptiste again.            Ms. Baptiste,

who had seen the female officer arrive, was now “demanding to go

to the bathroom,” and at some point entered Officer Stewart’s car.

Doud testified that while he had intended to have Officer Stewart

escort Baptiste to a restroom to search her and allow her to

urinate, Officer Morris suggested that because Baker had just

admitted to concealing pills in a body cavity, retrieving them was

a priority, and Doud agreed.      He asked Stewart to supervise the

recovery of pills from Baker, and Stewart drove to Ms. Baker’s

location, with Ms. Baptiste in her cruiser.


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      Baker surrendered a package containing 363 Oxycontin tablets

that had been concealed in her vagina.

      At that point, Ms. Baptiste became aware drugs had been

retrieved from Ms. Baker.         Officer Trombly, who had been watching

Ms. Baptiste while she was in Stewart’s cruiser, reported to Doud

that Ms. Baptiste wanted to “talk.”           Baptiste told Doud the need

to “talk” was now more important than her need to urinate.                  Doud

understood this to mean she wished to disclose she was concealing

contraband, and administered oral Miranda warnings in Officer

Trombly’s presence.         Baptiste confessed she had 280 pills inside

her underwear and this was her second drug run to Vermont.                  She

was arrested, and then in Officer Stewart’s presence, she

surrendered a bag hidden within her clothing that held 275

Oxycontin pills.     The Court credits Doud’s testimony that

approximately 45 minutes elapsed between the vehicle stop and the

end of the search, and that an hour to an hour and a quarter

elapsed between the stop and Ms. Baptiste’s incriminating

statements at about 8:45 p.m.

II.   Discussion

      Ms. Baptiste’s seizure, from the inception of the stop until

the completion of the warranted searches of the Suburban and one

of its passengers, was a detention justified as incident to the

warranted automobile search.         See United States v. Vaughan, 718

F.2d 332, 334 (9th Cir. 1983) (car passenger could be briefly


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detained pursuant to Michican v. Summers, 452 U.S. 692 (1981),

while agents executed arrest warrants for two other passengers and

conducted car search incident to those arrests).

     The detention incident to the search in Ms. Baptiste’s case

was brief because it lasted only thirty-five to forty-five

minutes, and Ms. Baptiste was only in handcuffs for approximately

fifteen of those minutes, while officers secured the scene.               This

minimally intrusive detention was justified because it ensured the

orderly completion of the warranted searches, it minimized the

risk of harm to officers, and furthered the legitimate law

enforcement interest in preventing flight in the event

incriminating evidence was found.         See Michican v. Summers, 452

U.S. 692, 702-03 (1981).

     Furthermore, it was clear there was a connection between the

occupants of the car and that Ms. Baptiste should not be allowed

to simply walk away.       Ms. Baptiste was known to the officers as

the owner of an automobile linked to a suspected drug dealer and

possibly linked to drug activity.         Her presence in a vehicle for

which officers had a search warrant, in the company of another

passenger for whom officers had a search warrant, when their

vehicle was suspected of transporting a drug shipment from New

York that night, justified her detention during the execution of

the search warrants.




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     When the warranted searches were completed, the officers had

enough information to reasonably suspect Ms. Baptiste was

connected to criminal activity and may have been secreting

contraband on her person.       Again, they had a recorded conversation

indicating a drug delivery from one of Terrell Jordan’s associates

would be delivered that night to Marissa Brassard and suspected it

would arrive in either Ms. Baker’s or Ms. Baptiste’s vehicle.

They knew the warranted searches of the Suburban and Mr. Lyons had

not turned up contraband.       They were aware of Ms. Baptiste’s

identity and her romantic relationship with Terrell Jordan, who

had been seen driving her Lexus in Burlington.             Therefore,

especially once the search warrants failed to reveal contraband,

they could reasonably suspect that Ms. Baptiste or another

passenger was involved in the suspected criminal activity and may

have had contraband on her person.

     Under Terry v. Ohio, 392 U.S. 1 (1967), the officers in this

case had a right to detain Ms. Baptiste briefly following the

search to investigate and dispel their reasonable suspicions.             See

also Berkemer v. McCarty, 468 U.S. 420 (1984) (finding traffic

stop akin to Terry stop, an officer may, without formally

arresting a person, detain him to investigate circumstances

arousing suspicion).       In United States v. Fountain, the Sixth

Circuit held that agents, after concluding the execution of a

search warrant in a home, reasonably suspected a man detained in


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that home during the search, and they could continue to hold him

in “investigative detention” in order to probe the circumstances

provoking their suspicion.         Fountain, 2 F.3d 656, 664 (6th Cir.

1993).    The Fountain panel held the detention was based upon

reasonable suspicion because the government showed there was

“‘some minimal level of objective justification’” for the

detention, and the officers used the “‘least intrusive means

reasonably available’” to dispel suspicion in a short period of

time.    Id. at 665 (quoting United States v. Sokolow, 490 U.S. 1, 7

(1989) and Florida v. Royer, 460 U.S. 491, 500 (1983)).

     In Ms. Baptiste’s case, after the searches were completed,

Ms. Baptiste was not handcuffed and was detained while agents

investigated suspicions regarding whether contraband would be

found on passengers.         She had already consented to a search of her

person, and it was reasonable for the officers to wait for a

female officer to assist her.         While waiting for the female

officer’s assistance, Ms. Baptiste learned contraband had been

recovered from her fellow passenger and volunteered to “talk” to

agent Doud.     She made incriminating statements only after Miranda

warnings were issued.

     While it is not clear exactly how much time elapsed between

the end of the vehicle search and her incriminating statements,

according to Doud’s hearing testimony, Ms. Baptiste made her

statements at approximately 8:45 p.m., about an hour and ten


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minutes after the initial stop.           Accepting Doud’s testimony that

the search ended approximately forty-five minutes after the

vehicle stop, Baptiste’s post-search investigative detention

lasted approximately thirty minutes and was not unreasonably

prolonged.    See United States v. Sharpe, 470 U.S. 675, 683 (1985)

(finding 20-minute traffic detention or stop proper); United

States v. Glover, 957 F.2d 1004, 1013 (2d Cir. 1992) (suspect

could reasonably be detained approximately thirty minutes with

bags to conduct brief questioning and await arrival of narcotics

dog).   Officers and agents were diligently working to dispel or

confirm their suspicions regarding multiple passengers during this

time.

     Ms. Baptiste’s detention incident to the warranted searches

of the Chevrolet Suburban and Mr. Lyons was therefore justified

and reasonable, and her continued detention following the

completion of the searches was justified by reasonable suspicion.

It was not unduly coercive or intrusive and was reasonable in

duration.

III. Conclusion

     Ms. Baptiste’s Motion to Suppress (Doc. 41) is DENIED.

     SO ORDERED.

     Dated at Brattleboro, in the District of Vermont, this 25th

day of August, 2011.
                                    /s/ J. Garvan Murtha
                                    Honorable J. Garvan Murtha
                                    United States District Judge

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